Case 2:17-cv-02523-PSG-E Document 45 Filed 05/04/17 Page 1 of 28 Page ID #:640




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 20
                            UNITED STATES DISTRICT COURT
 21
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 22
    PUMA SE, a German company; and         Case No. 2:17-CV-02523-PSG-E
 23 PUMA NORTH AMERICA, INC., a
    Delaware corporation,                  DEFENDANT FOREVER 21, INC.’S
 24                                        NOTICE OF MOTION AND
                  Plaintiffs,              MOTION TO DISMISS THE FIRST
 25                                        AMENDED COMPLAINT
          v.
 26                                        Date: July 3, 2017
    FOREVER 21, INC., a Delaware           Time: 1:30 p.m.
 27 corporation,,                          Judge: Philip S. Gutierrez
                                           Courtroom: 350 West 1st Street
 28               Defendant.                            Courtroom 6A

                                                    -1-                  Case No. 2:17-CV-02523-PSG-E
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  1                      NOTICE OF MOTION AND MOTION TO DISMISS
  2           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  3           PLEASE TAKE NOTICE that on July 3, 2017, at 1:30 p.m. or as soon
  4 thereafter as counsel may be heard in the courtroom of the Honorable Philip S.
  5 Gutierrez, located in the First Street Courthouse, 350 West 1st Street, Courtroom
  6 6A, 6th Floor, Los Angeles, California 90012-4565, Defendant Forever 21, Inc.
  7 (“Forever 21”) will move and hereby does move to dismiss the First Amended
  8 Complaint (“FAC”) filed by Plaintiffs Puma SE and Puma North America, Inc.
  9 (collectively, “Puma”) (DE 13) pursuant to Federal Rule of Civil Procedure 12(b)(6)
 10 for failure to state a claim.
 11           Puma’s first claim for relief for design patent infringement fails to state a
 12 claim because it improperly dissects the totality of the design patent to gerrymander
 13 an infringement read. It does this by improperly ignoring virtually all of the
 14 limitations of the design patent in favor of just a few.
 15           Puma’s second claim for relief for trade dress infringement fails to state a
 16 claim because: (1) it fails to identify the claimed trade dress with specificity; (2) it
 17 fails to plead secondary meaning; and (3) it fails due to aesthetic functionality.
 18           Puma’s third claim for relief fails to state a claim for copyright infringement
 19 because the subject of the claim is an unprotectable, useful article, and Puma’s
 20 copyright applications have not been granted by the Copyright Office, are not
 21 attached to Puma’s filings, and have not been otherwise provided.
 22           Puma’s fourth claim for relief for unfair competition and false designation of
 23 origin under the Lanham Act, and its fifth claim for relief for state unfair
 24 competition, are duplicative of the second claim for relief and fail for the same
 25 reasons.
 26           Puma’s attempt to stifle fair competition by claiming exclusive intellectual
 27 property rights in universal shoe styles are without merit. Basic categories of
 28 footwear are not protectable (even with a celebrity spokeswoman such as Rhianna).
                                                                          Case No. 2:17-CV-02523-PSG-E
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  1 No matter how Puma attempts to state its claim—whether through copyrights, trade
  2 dress, or a design patent—its threadbare recitals and vitriol fail to meet basic
  3 pleading requirements. Therefore, the FAC should be dismissed in its entirety under
  4 Rule 12(b)(6), without leave to amend.
  5           This Motion to Dismiss the First Amended Complaint (“Motion to Dismiss”)
  6 is based on this Notice, the accompanying Memorandum of Points and Authorities,
  7 Forever 21’s Request for Judicial Notice and Exhibits 1-8 attached thereto and filed
  8 contemporaneously herewith, all pleadings, papers and other documentary materials
  9 in the Court’s file for this action, those matters of which this Court may or must take
 10 judicial notice, and such other matters as this Court may consider in connection with
 11 the hearing on this matter.
 12           This Motion to Dismiss is made following the conference of counsel pursuant
 13 to C.D. Cal. Local Rule 7-3, which took place on April 27, 2017.
 14 Dated: May 4, 2017                 Respectfully submitted:
 15                                     SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 16
                                        By                    /s/ Laura L. Chapman
 17
                                                             LAURA L. CHAPMAN
 18
 19                                                     Attorneys for FOREVER 21, INC.

 20
      Dated: May 4, 2017               Respectfully submitted:
 21
                                        THE WEBB LAW FIRM
 22
 23
 24                                     By:                    /s/ Kent E. Baldauf
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                                                             CECILIA R. DICKSON
 26                                                         CHRISTIAN D. EHRET                           A
 27
                                                        Attorneys for FOREVER 21, INC.
 28                                                           Pro Hac Vice Pending
                                                                          Case No. 2:17-CV-02523-PSG-E
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  1 I.        INTRODUCTION
  2           Penny loafers. Wing tips. Oxfords. Boat shoes. Flip flops. These are a few
  3 examples of footwear styles that have been sold under many different brands for
  4 many decades. No one company or brand has the right to exclude others from
  5 making or selling these types of iconic styles. Yet that is precisely what Puma
  6 improperly seeks to do in this case.
  7           Puma seeks a monopoly on two classic styles of footwear: the “creeper” and a
  8 sandal slide. The creeper, characterized by a rubber sole,1 was developed after
  9 World War II and has been sold under different brands. Puma’s version, the “Fenty
 10 Creeper,” is simply a Puma Suede upper (introduced in 1968) on a creeper sole2:
 11
 12
 13
 14
 15
 16           The second style over which Puma improperly seeks exclusive rights is a
 17 women’s backless slide sandal, consisting of a single strap attached to a foot bed.
 18 This design is quite possibly the simplest footwear ever created. One of the Puma
 19 slide designs has faux fur on the strap; the other design’s strap has a bow:
 20           Puma Fenty Fur Slide                       Puma Fenty Bow Slide
 21
 22
 23
 24
 25   1
      “[C]reepers are a style of shoe which has thick crepe soles, often in combination
 26 with  suede uppers. This style of footwear became fashionable in the years following
    World War II, seeing resurgences of popularity at various times ever since.”
 27 https://en.wikipedia.org/wiki/Brothel_creeper.
    2
      http://us.puma.com/en_US/pd/mens-puma-by-rihanna-creeper-white-
 28 leather/pna364640.html?dwvar_pna364640

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   1           Creepers - and slides with faux fur and bows - are manufactured by a host of
   2 companies and sold under different trademarks by diverse retailers at varying price
   3 points targeting distinct bands of the consumer spectrum, as shown in the exhibits to
   4 Forever 21’s Request for Judicial Notice (“RJN”) filed contemporaneously with this
   5 motion. Puma’s versions are simply one of many, as are Forever 21’s. No
   6 intellectual property law can remove these product designs from the market and
   7 assign them exclusively to a single producer, such as Puma, for its exclusive use.
   8           Forever 21 moves to dismiss all five counts of the Puma’s First Amended
   9 Complaint (“FAC”) for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6).
  10           Puma’s first claim for relief for design patent infringement fails to state a
  11 claim because it improperly dissects the totality of the design patent to gerrymander
  12 an infringement read. It does this by improperly ignoring virtually all of the
  13 limitations of the design patent in favor of just a few.
  14           Puma’s second claim for relief for trade dress infringement fails to state a
  15 claim because: (1) it fails to identify the claimed trade dress with specificity; (2) it
  16 fails to plead secondary meaning; and (3) it fails due to aesthetic functionality.
  17           Puma’s third claim for relief fails to state a claim for copyright infringement
  18 because the subject of the claim is an unprotectable, useful article, and Puma’s
  19 copyright applications have not been granted by the Copyright Office, are not
  20 attached to Puma’s filings, and have not been otherwise provided.
  21           Puma’s fourth claim for relief for unfair competition and false designation of
  22 origin under the Lanham Act, and its fifth claim for relief for state unfair
  23 competition, are duplicative of the second claim for relief and fail for the same
  24 reasons.
  25           Puma’s attempt to stifle fair competition by claiming exclusive intellectual
  26 property rights in universal shoe styles are without merit. Basic categories of
  27 footwear are not protectable (even with a celebrity spokeswoman such as Rhianna).
  28 No matter how Puma attempts to state its claim—whether through copyrights, trade

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   1 dress, or a design patent—its threadbare recitals and vitriol fail to meet basic
   2 pleading requirements. The FAC should be dismissed in its entirety under Rule
   3 12(b)(6), without leave to amend.
   4 II.       LEGAL STANDARD
   5           “A motion to dismiss under Rule 12(b)(6) tests whether the complaint
   6 ‘contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is
   7 plausible on its face.’” Deckers Outdoor Corp. v. Fortune Dynamic, Inc., CV 15-
   8 769-PSG (SSx) (C.D. Cal. May 8, 2015 at *2, Gutierrez, J.) (citing Ashcroft v. Iqbal,
   9 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
  10 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual
  11 content that allows the court to draw the reasonable inference that the defendant is
  12 liable for the misconduct alleged …. The plausibility standard is not akin to a
  13 ‘probably requirement,’ but it asks for more than a sheer possibility that a defendant
  14 has acted unlawfully.” Id. (citations omitted). In short, as a matter of law,
  15 threadbare, conclusory statements are not sufficient to state a cause of action.
  16           In considering a motion to dismiss, courts may consider materials that are part
  17 of or incorporated by reference in the pleadings or subject to judicial notice. Coto
  18 Settlement v. Eisenberg, 593 F. 3d 1031, 1038 (9th Cir. 2010). Judicial notice may
  19 be taken “where the complaint necessarily relies upon a document or the contents of
  20 the document are alleged in a complaint” and do not raise a reasonable dispute of
  21 authentication. Id. This includes materials central or integral to the claims. Branch
  22 v. Tunnell, 14 F. 3d 449, 454 (9th Cir. 1994).3
  23
  24
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  26
  27   3
       Pursuant to the contemporaneous Request for Judicial Notice, Forever 21
     respectfully moves for consideration of the attached materials, all of which are
  28 publicly available, indisputable, incorporated in pleadings or relevant to the claims.

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   1 III.      ARGUMENT
   2           A.         Count I Fails to State a Claim for Design Patent Infringement
   3           A claim of design patent infringement may be dismissed pursuant to Rule
   4 12(b)(6) where, as a matter of law, no reasonable fact-finder could find
   5 infringement. See, e.g., Colida v. Nokia, Inc., 347 Fed.Appx. 568, 569–70 (Fed. Cir.
   6 2009) (affirming Rule 12(b)(6) dismissal of “facially implausible” claims for design
   7 patent infringement); SCG Characters LLC v. Telebrands Corp., No.
   8 CV1500374DDPAGRX, 2015 WL 4624200, at *6 (C.D. Cal. Aug. 3, 2015)
   9 (dismissing design patent claims under Rule 12(b)(6) where “it is clear that an
  10 ordinary observer would not consider the designs substantially the same”).
  11                      1.    Puma Misstates the Scope of the Design Patent
  12           Puma asserts that Forever 21’s Creeper (sold under the YOKI trademark)
  13 infringes the Design Patent. However, the FAC deceivingly compares only a single
  14 view (Fig. 4) of the Design Patent with a single side-view of the accused Creeper.
  15 But to infringe, an accused design “must encompass the claimed ornamental features
  16 of all figures of a design patent.” Arminak & Assocs. v. Saint-Gobain Calmar, Inc.,
  17 501 F.3d 1314, 1320 (Fed. Cir. 2007) (emphasis in original); see also Amini
  18 Innovation Corp. v. Anthony Calif., Inc., 439 F.3d 1365, 1371 (Fed. Cir. 2006) (“the
  19 deception that arises is a result of similarities in the overall design, not of
  20 similarities in ornamental features considered in isolation”). Puma’s failure to
  21 allege that the YOKI Creeper includes the limitations of all eight figures alone
  22 warrants dismissal of the claim, and fails as a matter of law.4 See Legler v. Exxel
  23 Outdoors, Inc., No. 13-C-668, 2014 WL 3727566, at *2 (E.D. Wis. July 29, 2014)
  24
  25
  26   4
      Since the removal of Form 18 from the FRCP, the heightened pleading standard
     for patent infringement does not allow for a complaint to only address a small subset
  27 of claim limitations. See e.Digital Corp. v. iBaby Labs, Inc., No. 15-CV-05790-
     JST, 2016 WL 4427209, at *5 (N.D. Cal. Aug. 22, 2016) (dismissing infringement
  28 claim where the complaint failed to map a claim limitation to the accused product).

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   1 (dismissing a design patent claim under Rule 12(b)(6) due to the “dubious” nature of
   2 the claim in which the features “are all depicted using solid lines”).
   3                      2.       Forever 21 Cannot Infringe the Design Patent Under Any Facts
   4           Any further amendments to the FAC would be futile because, in addition to
   5 the pleading deficiencies, this Court can conclude that Puma’s infringement claim is
   6 facially implausible based on a cursory comparison of the Design Patent to the
   7 accused YOKI Creeper. Here, even assuming arguendo that the Design Patent is
   8 valid (which is unlikely), no reasonable fact-finder would find that Forever 21’s
   9 YOKI Creeper infringes the claim of Puma’s exceedingly narrow claim.
  10           Examining the limitations of the Design Patent intentionally omitted from the
  11 FAC reveals the implausibility of this claim. Fig. 3, for example, shows a
  12 trapezoidal limitation in solid lines that is absent from the accused YOKI Creeper:
  13
  14
  15
  16
  17                                                                 Accused
  18                           ’288 Patent, Fig. ’288 Patent, Fig.   product
                               3                 3 (annotated)
  19
  20           Even ignoring the seven figures improperly omitted from the FAC that
  21 include numerous limitations not addressed by Puma, there are clear and
  22 unmistakable differences between the YOKI Creeper and the small subset of
  23 limitations in Fig. 4 that Puma chose to address. For example, the relative height of
  24 the sole with respect to the upper, the use of ornamental/visible stitching, and the
  25 number and placement of the ventilation holes are all significantly and obviously
  26 different:
  27
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   7           An ordinary observer would readily notice all of these differences as
   8 collectively giving each shoe a different overall appearance. Because the two
   9 designs are, as a whole, “plainly dissimilar,” Puma’s claim fails. See Egyptian
  10 Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008); Colida, 347 Fed.
  11 Appx. at 569-70.
  12           The accused YOKI Creeper could not possibly infringe the Design Patent
  13 because the only alleged similarities5 are found in the prior art and, thus, an ordinary
  14 observer would focus on the features that differ between the Design Patent and the
  15 prior art (which, in this case, do not appear in the YOKI Creeper). See SCG
  16 Characters LLC, 2015 WL 4624200, at *6 (C.D. Cal. Aug. 3, 2015) (dismissing
  17 design patent claims under Rule 12(b)(6) where the accused products “appear to the
  18 Court to be more similar to the prior art than to [the] asserted designs”); see also
  19 Egyptian Goddess, 543 F.3d at 681 (requiring that infringement be determined in the
  20 context of the prior art). The shoe designs cited on the face of the Design Patent
  21 show: (1) lace-up sneakers having (2) vertical ridged tooling around the rubber outer
  22 sole, (3) a rubber ridge encircling the entire shoe immediately above the vertical
  23 ridged tooling, and (4) a deep ‘C’-shaped bowl for the foot to slide into, including
  24 Puma’s own prior sneaker design:
  25
     5
       Tellingly, in its Motion for a Preliminary Injunction, Puma calls out only four
  26 features as demonstrating how the YOKI Creeper is allegedly “identical” to the
     Design Patent, all of which appear in the prior art cited in the Design Patent: “[1]
  27 lace-up sneakers with [2] vertical ridged tooling around the rubber outer sole, a [3]
     rubber ridge encircling the entire shoe immediately above the vertical ridged
  28 tooling, and [4] a deep ‘C’-shaped bowl for the foot to slide into.” DE 21, at 29.

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   5
       An ordinary observer familiar with these prior art shoes would focus more on the
   6
       features that differ from the prior art, such as the number and placement of
   7
       ventilation holes, the trapezoidal shape on the back, and the lack of
   8
       ornamental/visible stitching. The absence of such features in the YOKI Creeper
   9
       makes Puma’s claim facially implausible.
  10
                          3.    Puma Failed to Adequately Plead Willful Patent Infringement
  11
               The FAC’s threadbare recital that “Defendant has actual and/or constructive
  12
       knowledge of the ’288 Patent” is insufficient to raise a plausible inference of willful
  13
       patent infringement. See DE 13, ¶ 48. “California federal courts have taken the
  14
       view that a plaintiff must plead presuit knowledge in order to adequately plead
  15
       willful infringement.” Deckers Outdoor Corp. v. J.C. Penney Co., 45 F.Supp.3d
  16
       1181, 1187 (C.D. Cal. 2014); see also Deckers, 2015 WL 12731929, at *7
  17
       (“[R]ecitation of the standard does not save the complaint’s factual deficiencies.”).
  18
               B.         Count II Fails to State a Claim for Trade Dress Infringement
  19
               To plead trade dress infringement, a plaintiff must identify the trade dress and
  20
       then plead that it is (1) nonfunctional; (2) has secondary meaning; and is (3) likely
  21
       to be confused with defendant’s product by the consuming public. Deckers, 2015
  22
       WL 12731929, at *3; Int’l Jensen, Inc, v. Metrosound U.S.A. Inc., 4 F.3d 819,823
  23
  24
     6
       “Mr. Completely Nike and Adidas Creepers,” dated Oct. 28, 2014,
  25 http://thesnobette.com/2014/10/mr-completely-nike-adidas-creepers/
     7
  26 “Mr. Completely Shoes-Haus of Rihanna,” dated Oct. 27, 2014,
     http://hausofrihanna.com/rihanna-puma-creative-director/mr-completely-puma-
  27 creepers-puma/
     8
       “Mr. Completely Shoes-Haus of Rihanna,” dated Oct. 27, 2014,
  28 http://hausofrihanna.com/mr-completely-adidas-creepy-samba-shoes/

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   1 (9th Cir. 1993); RDF Media Ltd. v. Fox Broad. Co., 372 F. Supp. 2d 556, 562 (C.D.
   2 Cal. 2005).
   3                      1.    Puma Fails to Specifically Identify the Alleged Trade Dress
   4           A plaintiff claiming trade dress infringement must show that its trade dress is
   5 protectable by identifying the elements of the claimed trade dress. Fuddruckers,
   6 Inc. v. Doc’s B.R. Others, Inc., 826 F.2d 837, 841 (9th Cir. 1987). “[I]t is the
   7 plaintiff’s duty to ‘articulat[e] the specific elements which comprise its distinct
   8 dress.’” Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 309 (3d Cir. 2014)
   9 (citing Landscape Forms, Inc. v. Columbia Cascade Co., 113 F.3d 373, 381 (2d Cir.
  10 1997)). Only after specifically defining the trade dress “can the court and the parties
  11 coherently define exactly what the trade dress consists of and determine whether the
  12 trade dress is valid and if what the accused is doing is an infringement.” Treat, Inc.
  13 v. Dessert Beauty, No. 05-923 PK, 2006 WL 2812770, at *14 (D. Or. May 5, 2006).
  14           Puma accuses the Creeper, the Fur Slide, and the Bow Slide as follows:
  15    Puma’s Shoes             Puma’s Alleged Trade Dress
        Puma Creeper-style “includes, at least, a lace-up sneaker with suede uppers, a
  16
        shoe                     thick rubber outer sole consisting of ridged vertical tooling
  17                             and grainy texture with a rubber ridge encircling the entire
  18                             shoe immediately above the vertical ridged tooling, and a
                                 deep “C”-shaped bowl for the foot to slide into.” DE 13 at
  19                             ¶ 23 (emphasis added).
  20    Puma Fur Slide           “includes, at least, a thick sandal base with a wide plush
                                 fur strap extending to the base of the sandal, and a satin
  21                             foam backing, and shares the deep bowl for the foot (albeit
  22                             in a sandal).” DE 13 at ¶ 24 (emphasis added).
        Puma Bow Slide           “includes, at least, a thick sandal base decorated by a
  23                             wide, casually knotted satin bow with pointed endings atop
  24                             the side strap in addition to satin foam backing, and the
                                 same deep bowl for the foot” DE 13 at ¶ 26 (emphasis
  25                             added).
  26   Color is not explicitly claimed as trade dress. Use of the unrestricted language
  27 employed by Puma, such as “includes, at least” and “consists of, at least,” fails to
  28 adequately and clearly identify the “total appearance” of the product that Puma

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   1 claims is the trade dress at issue. Autodesk, Inc. v. Dassault Systemes Solidworks
   2 Corp., No. 2008 U.S. Dist. LEXIS 109800, at *14 (N.D. Cal. Dec. 18, 2008)
   3 (granting a motion to dismiss for failure to adequately identify the trade dress at
   4 issue). Puma appears to use such language so it can, on occasion, reference color as
   5 an accused part of the trade dress while not meeting the burdens to substantiate color
   6 serving as a source indicator. Puma’s claimed trade dress is inadequate as a matter
   7 of law. Therefore, the First Claim for Relief should be dismissed.
   8                      2.    Puma Fails to Plead Non-Functionality
   9           Functional features are not entitled to trademark protection. 15 U.S.C. §
  10 1052(e)(5). Although the Trademark Act does not define the term “functional,” the
  11 Supreme Court has explained that a product’s feature is functional “if it is essential
  12 to the use or purpose of the article or if it affects the cost or quality of the article.”
  13 Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 850 n.10 (1982). Courts
  14 hesitate to grant broad trade dress rights in mere ornamentation based on the
  15 “aesthetic functionality” doctrine because, as with mechanically functional features,
  16 doing so would stifle legitimate competition. See, e.g., Pagliero v. Wallace China
  17 Co., 198 F.2d 339 (9th Cir. 1952) (designs on china not protected because
  18 aesthetically functional; consumers bought the plaintiff’s china because they thought
  19 it was beautiful, but it did not see source-identifying significance in the design);
  20 Wallace Int’l Silversmiths, Inc. v. Godinger Silver Art Co., 916 F.2d 76 (2d Cir.
  21 1990) (silversmith denied broad trade dress rights in a baroque design on its
  22 silverware on aesthetic functionality grounds because silversmiths commonly wish
  23 to embellish their silverware with baroque patterns and compete in the marketplace).
  24           At the motion to dismiss stage, this Court has specifically held, in a similar
  25 case involving UGG® footwear, that “conclusory statements of non-functionality
  26 fail[] to sufficiently allege the element, particularly because some features of the
  27 claimed trade dress do perform utilitarian functions in certain contexts (i.e., buttons
  28 or adjustable overlapping flaps).” Deckers, 2015 WL 12731929, at *4. It is Puma’s

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   1 undoubted burden to prove non-functionality as an affirmative matter, and failure to
   2 plead this required element warrants dismissal. See Traffix Devices, Inc. v.
   3 Marketing Displays, Inc., 532 U.S. 23, 30 (2000).
   4           In Puma’s FAC, no discussion – not even a conclusory statement – is
   5 provided to aver that Puma’s alleged trade dress is non-functional. Indeed, the
   6 Complaint seems to take the opposite approach by choosing to characterize the
   7 various elements of alleged trade dress with functional language and identification
   8 of functional shoe components (i.e., “a deep “C”-shaped bowl for the foot to slide
   9 into”, “thick sandal base”, “strap”, and “deep bowl for the foot”) (emphasis added).
  10 Taken on its face, the FAC appears to be claiming functionality for its purported
  11 trade dress. Without addressing non-functionality in the FAC, the Second Claim for
  12 Relief must be dismissed.
  13                      3.    Puma Fails to Plead Secondary Meaning
  14           Dismissal is also proper because Puma has failed to plead the existence of
  15 secondary meaning in sufficient detail. Secondary meaning exists when “the
  16 primary significance” of the claimed trade dress is to “identify the source of the
  17 product rather than the product itself.” Wal-Mart Stores, Inc., 529 U.S. at 211-213,
  18 216 (1999). Product designs are notoriously difficult to serve as trade dress because
  19 of the difficulty in establishing secondary meaning. Duraco Prods. v. Joy Plastic
  20 Enters., 40 F.3d 1431, 1454 (3d Cir. 1994) (“In sum, secondary meaning in a
  21 product configuration case will generally not be easy to establish.”).
  22           Trade dress is classically sorted into two categories- product packaging and
  23 product configuration. In cases of product configuration, like this case,
  24 configuration can never be inherently distinctive. “No designer should have a
  25 monopoly on designs regarded by the public as the basic form of a particular item.”
  26 Abercrombie & Fitch Stores, Inc. v. American Eagle Outfitters, Inc., 280 F.3d 619,
  27 637 (6th Cir. 2002). “While most trademarks only create a monopoly in a word, a
  28 phrase or a symbol, granting trade dress protection to an ordinary product design

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   1 would create a monopoly in the goods themselves.” Yurman, 262 F.3d at 115.
   2 Thus for product configuration matters, secondary meaning must be pled.
   3           The same types of conclusory allegations put forth by Puma in this case have
   4 previously been rejected by this Court in the Deckers case:
   5                      Plaintiff states generally: the Bailey Button Boot Trade
   6                      Dress is one of its “most well recognized and
   7                      commercially successful styles;” Plaintiff has spent
   8                      “substantial time, effort, and money promoting and
   9                      advertising items embodying the trade dress; the trade
  10                      dress has been in “long use” by Plaintiff; and Plaintiff has
  11                      made “extensive sales” and sold “a substantial amount” of
  12                      boots bearing the design. … While the complaint alleges
  13                      that the Bailey Button Boot Trade Dress has “achieved
  14                      widespread acceptance and recognition among the
  15                      consuming public and trade throughout the United States,”
  16                      it fails to complete this assertion and state what the
  17                      consuming public accepts and recognizes about the trade
  18                      dress.
  19 Deckers, 2015 WL 12731929 at *5; Compare to DE 13 at ¶¶ 20 (“…Puma has
  20 invested a substantial amount of time, money and other resources in establishing”
  21 the trade dress); 21(“As a result of Puma’s substantial use and promotion … the
  22 Fenty Trade Dress has acquired great value…”); and 22 (“Puma’s substantial
  23 investment and success with the Fenty Shoes…”). These conclusory statements are
  24 the only statements by Puma regarding secondary meaning—the FAC fails to
  25 mention the prominent display of the PUMA® wordmark and design marks on its
  26 shoes, which tend to suggest that it is the actual trademark that provides source
  27 indication, and not any of the functional items that Puma is now claiming as trade
  28

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   1 dress in an effort to monopolize the creeper market and claim exclusivity in relation
   2 to fur and bow slides.
   3           Independent, third party use of the asserted trade dress makes it impossible
   4 for Puma to establish secondary meaning. See Coach Servs., Inc. v. Triumph
   5 Learning LLC, 668 F.3d 1356, 1380 (Fed. Cir. 2012) (holding that “the Board’s
   6 failure to consider all pre-decision third-party use of the term ‘coach’ for
   7 educational materials undermines its secondary meaning analysis”); In the Matter of
   8 Certain Footwear Prods., Inv. No. 337-TA-936 (July 6, 2016), available at
   9 http://www.itcblog.com/images/commopin936.pdf (third party use of designs
  10 defeated trade dress claims).
  11           Here, use of the asserted trade dress by third-parties defeats secondary
  12 meaning. Puma opened this door by contending in its FAC that its products are
  13 “currently being sold in both brick-and-mortar stores and online retailers such as
  14 Neiman Marcus, Nordstrom’s, Urban Outfitters, and Bloomingdales, among others.”
  15 DE 13 at ¶ 11. Yet, a search for the terms “creeper,” “fur slide,” and “bow slide” on
  16 these retailers’ websites reveals numerous third-party uses.9 For example, a search
  17 on NeimanMarcus.com for “fur slides” reveals numerous slides including a thick
  18 sandal base with a wide plush fur strap extending to the base of the sandal, none of
  19 which are associated with Puma. See RJN, Exh. 1 (showing third-party fur slides by
  20 Givenchy, Seychelles, Jeffrey Campbell, JSlides, and others). Numerous other
  21 third-party “fur slides” are shown on Urban Outfitter’s and Bloomingdales’
  22 websites. See RJN, Exhs. 2, 3. Likewise, a search for “bow slide” on
  23 Nordstrom.com reveals an entire page of slides including a bow, only one of which
  24 is Puma’s. See RJN, Exh. 4 (showing products by other designers).
  25
  26
  27
     9
       As explained in the concurrently-submitted Request for Judicial Notice, these
  28 retailers’ webpages are central and integral to Puma’s FAC.

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   1           A Google search for “bow slides” and “fur slides” show a staggering amount
   2 of third-party use of the asserted trade dress.10 See RJN, Exh. 5 (showing third-party
   3 use of the asserted “bow slide” trade dress by Cape Robbins, Steve Madden, Jeffrey
   4 Campbell, Sam Edelman, GoJane, Moria-19, and many others); RJN, Exh. 6
   5 (showing third-party use of the asserted “fur slide” trade dress by Urban Outfitters,
   6 Nike, Jeffrey Campbell, Walmart, Qupid, Steve Madden, and many others).
   7           The asserted “creeper” trade dress is also widely and independently used by
   8 third-parties. Urban Outfitters’ website shows third-party use by T.U.K., Superga,
   9 and Hollie, side-by-side Puma’s Fenty creeper. See RJN, Exh. 7. A Google search
  10 for “creeper sneaker” shows even further independent third-party uses. See RJN,
  11 Exh. 8. In view of the countless instances of third-party use of the asserted trade
  12 dress, Puma’s claim of secondary meaning is implausible.
  13           C.         Count III Fails to State a Claim for Copyright Infringement
  14           Puma does not aver facts sufficient to support a plausible claim of copyright
  15 infringement in relation to the Creeper, Bow Slide or Fur Slide.11 Claims of
  16 copyright infringement can be dismissed pursuant to Rule 12(b)(6) where it can be
  17 facially determined that the accused work is not substantially similar to protectable
  18 aspects of the alleged copyrighted work. Fusion Windows & Doors, Inc. v. Am.
  19 Reliable Windows, Inc., No. CV 13-1022 PSG (JCX), 2013 WL 12126108, at *3
  20 (C.D. Cal. July 12, 2013) (citing Christianson v. W. Pub. Co., 149 F.2d 202, 203
  21 (9th Cir. 1945) (“[W]hen the copyrighted work and the alleged infringement are
  22 both before the court, capable of examination and comparison, non-infringement can
  23 be determined on motion to dismiss.”)); Zella v. E.W. Scripps Co., 529 F.Supp.2d
  24
  25   10
        Puma’s Motion for a Preliminary Injunction refers to Google results for “pink
  26 bow  slides” and “puma fur slide.” Accordingly, Puma cannot object to the
     authenticity of Google results for these more relevant search terms.
  27 11 The FAC also seeks statutory damages and attorneys’ fees, but fails to support a
     plausible inference that such remedies are available. See Lickerish, Inc. v. Alpha
  28 Media Grp., No. CV1300377, 2014 WL 12589641, at *5 (C.D. Cal. Jan. 2, 2014).

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   1 1124, 1130 (C.D. Cal. 2007) (“For fifty years, courts have followed this rather
   2 obvious principle and dismissed copyright claims that fail from the face of the
   3 complaint”); see also 3 PATRY ON COPYRIGHT § 9:86.50.
   4                      1.    Puma’s Failure to Attach the Applications for Copyright
                                Registration Alone Warrants Dismissal
   5
               Puma has yet to obtain copyright registrations for its asserted shoe designs—a
   6
       significant hurdle considering the unprotectable nature of what Puma is attempting
   7
       to claim. The FAC alleges three copyright applications exist, but neither the
   8
       applications nor the corresponding deposits are attached. See DE 13, ¶ 41.
   9
       Although the Court of Appeals for the Ninth Circuit permits complaints for
  10
       copyright infringement to be filed after filing an application, but prior to
  11
       registration, neither Forever 21 nor this Court is capable of guessing what Puma
  12
       attempted to claim or whether Puma elected to expedite the registration process as
  13
       would be expected given Puma’s continued efforts to fast track this litigation.
  14
               Puma’s failures warrant dismissal of these claims. See, e.g., Aurora World,
  15
       Inc. v. Ty Inc., 719 F. Supp. 2d 1115, 1130 (C.D. Cal. 2009) (dismissing a copyright
  16
       claim where the plaintiff averred that an application was filed but the “exhibits do
  17
       not demonstrate that the registration application, fee, and deposit were completed
  18
       and mailed to the Copyright Office, much less that they were received”); Reed
  19
       Elsevier, Inc. v. Muchnick, 559 U.S. 154, 166 (2010). “No court has held that a
  20
       plaintiff can satisfy § 411(a) simply by placing the registration application, fee and
  21
       deposit in the mail prior to filing suit, and the statute requires receipt of all three
  22
       items, not simply the application itself, by the Copyright Office before suit is
  23
       initiated.” Aurora World, Inc., 719 F. Supp. 2d at 1130 (quoting Breakdown Servs.,
  24
       Ltd. v. My Entm't World, Inc., No. CV 08-5702, 2009 WL 3045807, at *2 (C.D. Cal.
  25
       Sept. 18, 2009)); see also Eliya, Inc. v. Kohl's Dep't Stores, No. 06 CIV.195, 2006
  26
       WL 2645196, at *8 (S.D.N.Y. Sept. 13, 2006) (“Eliya has no copyright in an actual
  27
       shoe, only a two-dimensional representation of one”).
  28

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   1                      2.    Puma’s Three-Dimensional Shoe Designs Are Not Copyrightable
   2           Puma cannot survive dismissal by amending the FAC to recite additional
   3 averments concerning efforts to obtain registrations or to attach copies of the
   4 applications. Such an attempt would be futile because this Court can easily
   5 determine that Puma’s copyright claims are facially implausible given the accused
   6 products are not substantially similar to any protectable aspects of the alleged
   7 copyrighted works. See Fusion Windows & Doors, Inc., 2013 WL 12126108, at *3.
   8           Courts faced with this very issue have held that design elements of a shoe,
   9 other than two-dimensional images printed on the material of the footwear, are not
  10 subject to copyright protection. See SCOA Indus., Inc. v. Famolare, Inc., No. 75
  11 CIV. 3357 IBW, 1976 WL 21086, at *2 (S.D.N.Y. Feb. 13, 1976) (in the context of
  12 a copyright claim for a shoe design, holding that “[t]here can be no valid
  13 copyright in troughs in the sole or wavy lines on the sides” because “[t]hese have
  14 no existence as works of art and if they did have lack even the minimum originality
  15 needed for copyright.”) (emphasis added). Three-dimensional “design features of [a
  16 shoe] do not represent independent artistic expression, as would an image displayed
  17 on the shoe's surface.” Eliya, Inc., 2006 WL 2645196, at *12 (holding that a shoe
  18 design is not copyrightable because “the features reflect the designer's decisions
  19 regarding how best to implement a shoe’s functional purposes-how to, in an
  20 aesthetically pleasing manner, keep the shoe attached to the wearer's feet, hold the
  21 material of the shoe together, cushion the wearer's feet, and provide traction on
  22 various surfaces.”). Even where some design choices “reflect more concern for
  23 form than for function[,]…the blending of form and function in the [] design results
  24 in the exclusion of its design elements from copyright protection.” Id.
  25           The Copyright Office specifically lists “shoes” as useful articles that are not
  26 protectable without separable copyrightable expression. See U.S. Copyright Office,
  27 Compendium of U.S. Copyright Office Practices § 934.1 (3d ed. 2014). The
  28 Copyright Office further provides that, “[i]f the feature is an integral part of the

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   1 overall shape or contour of the useful article, that feature cannot be considered
   2 conceptually separable because removing it would destroy the basic shape of the
   3 useful article.” Id. at § 924.2(B); see also U.S. Copyright Office, Compendium of
   4 U.S. Copyright Office Practices § 505.04 (2d ed. 1984) (“However, since the overall
   5 shape of a useful article is not copyrightable, the test of physical separability is not
   6 met by the mere fact that the housing of a useful article is detachable from the
   7 working parts of the article”); Inhale, Inc. v. Starbuzz Tobacco, Inc., 739 F.3d 446,
   8 449 (9th Cir. 2014) (giving deference to Copyright Office guidance).
   9           Puma erroneously relies on the recent Supreme Court decision in Star
  10 Athletica, LLC v. Varsity Brands, Inc. to imply that the law has changed in its favor.
  11 It has not. The registrations at-issue in Star Athletica were two-dimensional designs
  12 including “various lines, chevrons, and colorful shapes” for cheerleader uniforms
  13 that could be envisioned as a two-dimensional work of art on a medium other than
  14 the uniforms. Star Athletica, L.L.C., 2017 WL 1066261, at *1. In this case, by
  15 contrast, Puma asserts alleged copyrights in the idea of a shoe design or, at best,
  16 three-dimensional elements, that are not separable from the useful article or
  17 independently copyrightable. See, e.g., Eliya, Inc., 2006 WL 2645196, at *12.
  18           “Ultimately, only protectable aspects of a work may be considered when
  19 determining whether infringement has occurred.” Fusion Windows & Doors, Inc.,
  20 2013 WL 12126108, at *4 (citing Pasillas v. McDonald's Corp., 927 F.2d 440, 443
  21 (9th Cir. 1991)). Therefore, this Court can dismiss Puma’s copyright claims even if
  22 the products as a whole “look quite similar” so long as there is no substantial
  23 similarity between the accused products and the “protectable elements” of the
  24 design. Id. And even if any of the asserted elements could be separated from the
  25 work, Puma’s claims should nevertheless be dismissed because those elements,
  26 when removed from the useful articles, lack originality and/or were borrowed from
  27 third-party works. See, e.g., id. at *3 (holding that “because the scope of copyright
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   1 protection does not extend to templates owned by others, Plaintiff has not
   2 sufficiently alleged a claim for copyright infringement”).
   3                      3.    Puma’s Creeper Copyright Infringement Claim Fails
   4            With respect to Puma’s Creeper, the FAC focuses on the soles and alleges
   5 only two copyrightable elements, both ubiquitous and functional features of
   6 “creeper” soles: “[1] the ridged vertical tooling and [2] grainy texture
   7 encompassing the thick rubber outer sole.” DE 13, ¶ 37. The FAC fails to identify
   8 or explain how a sole of a shoe is separable from the shoe itself or how these
   9 elements “can be perceived as a two- or three-dimensional work of art separate from
  10 the useful article.” Star Athletica, 2017 WL 1066261, at *13. Instead, Puma jumps
  11 to the unsupported conclusion that the “ridged vertical tooling and grainy texture”
  12 could exist on its own or in some other tangible medium. DE 13 at ¶ 33. The
  13 “ridged vertical tooling” is part of the overall shape of the shoe which is not
  14 protectable under the Copyright Act. See SCOA Indus., Inc., 1976 WL 21086, at *2
  15 (finding that “troughs in the sole [of a shoe] or wavy lines on the sides [of a shoe]”
  16 are not protectable under copyright law); Eliya, Inc., 2006 WL 2645196, at *12. It
  17 is likewise inconceivable how a grainy texture could be separable from a sole.
  18            Even assuming, arguendo, that “the ridged vertical tooling and grainy
  19 texture” could somehow be separated, such elements fail to meet the minimum
  20 threshold of originality. See SCOA Indus., Inc., 1976 WL 21086, at *2 (holding that
  21 “troughs in the sole or wavy lines on the sides [of a shoe]… have no existence as
  22 works of art and if they did have lack even the minimum originality needed for
  23 copyright.”). These features are not original works of art by Puma.
  24                      4.    Puma’s Fur Slide Copyright Infringement Claim Fails
  25            With respect to the “Fur Slide,” the only element that Puma accuses of
  26 infringement is “a wide plush fur strap extending to the base of the sandal.”12
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            Puma’s claim includes “the base of the sandal,” which cannot be considered.
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   1 DE 12, ¶ 38. Puma’s claim that it owns exclusive rights to “a wide plush fur strap”
   2 defies basic principles of copyright law and fails to support a plausible claim of
   3 infringement. The “wide plush fur strap” is not separable from the “sandal” because
   4 removing the strap changes the entire shape and contour of the sandal and because
   5 the purpose of a strap is to keep a person’s foot in the sandal. Eliya, Inc., 2006 WL
   6 2645196, at *12 (holding that “a strap” for a shoe is not copyrightable because, in
   7 part, the alleged design elements “keep the shoe attached to the wearer's feet [and]
   8 hold the material of the shoe together”); see also Olem Shoe Corp. v. Washington
   9 Shoe Co., No. 09-23494-CIV, 2011 WL 6202282, at *16 (S.D. Fla. Dec. 1, 2011),
  10 aff'd sub nom. Olem Shoe Corp. v. Washington Shoe Corp., 591 F. App'x 873 (11th
  11 Cir. 2015) (finding that, for a boot with a zebra-like pattern and a strap, “the
  12 protectable elements … are limited only to the conceptually severable patterned
  13 designs on the face of the boots and not any utilitarian functions of the boots”);
  14 Khatib v. Red St. Ventures, No. 11 C 3686, 2011 WL 3557307, at *1 (N.D. Ill. June
  15 30, 2011) (dismissing a copyright claim relating to a functional “all purpose strap”).
  16            But even putting separability aside, it is equally inconceivable to imagine how
  17 a piece of fur material, without any specific pattern, design, or artistic features, can
  18 be considered an original work of art. For at least these reasons, Puma’s copyright
  19 claim for the Fur Slides fails to plead facts sufficient to support a plausible claim of
  20 copyright infringement and should be dismissed pursuant to Rule 12(b)(6).
  21                      5.    Puma’s Bow Slide Copyright Infringement Claim Fails
  22            A sandal with a bow on top is also not protectable. The only element that
  23 Puma accuses of infringement is a “casually knotted fabric bow with pointed
  24 endings atop a lined side strap that extends to the base of the sandal.”13 DE 13, ¶
  25 39. Like the “wide plush fur strap,” there is no legal basis for Puma’s claim to a
  26 bow. A “fabric bow with pointed endings atop a lined side strap” is not separable
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            See fn. 14.
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   1 from the shoe because removing the strap changes the entire shape and contour of
   2 the shoe. The “lined side strap” affixes the shoe to a person’s foot and is therefore
   3 functional. See Eliya, Inc., 2006 WL 2645196, at *12.
   4           Even assuming, arguendo, that the bow and strap could somehow be
   5 separated from the shoe, the bow and strap would have to be independently
   6 copyrightable as a work of art. See Star Athletica, 2017 WL 1066261, at *4. This,
   7 in effect, would provide Puma with exclusive rights in a fabric bow, albeit “casually
   8 knotted,” whether used as a hair bow, a gift wrap bow, or a bowtie. There is nothing
   9 original about a bow with a standard knot, especially a solid colored bow without
  10 any patterns or other two-dimensional expression. Baby Buddies, Inc. v. Toys R Us,
  11 Inc., 611 F.3d 1308, 1320 (11th Cir. 2010) (holding that the “bow design is
  12 commonplace,” is “not original” to plaintiff, and “existed long before [plaintiff]
  13 chose to include it” in its design, and therefore “fell short of even the low threshold
  14 of originality required for copyright protection”). Accordingly, Puma’s copyright
  15 claim fails.
  16           D.         Counts IV and V Are Duplicative and Likewise Fail
  17           For the reasons set forth in Section II(B), supra, Counts IV and V must
  18 likewise be dismissed. Despite references to designs and trademarks in ¶¶ 76 and 79
  19 in the FAC, Puma does not point to anything other than the same items identified in
  20 its trade dress allegations.14 These counts should likewise be dismissed.
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       To the extent that the claims intend to reference the copyright and/or design patent
     claims, they are preempted by the federal causes of action. Deckers Outdoor Corp.,
  28 45 F. Supp. 3d at 1188-89.

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   1 IV.       CONCLUSION
   2           For all of these reasons, Puma’s attempts to squelch competition through a
   3 misuse of intellectual property claims should be rejected, and the FAC should be
   4 dismissed without leave to amend.
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   6 Dated: May 4, 2017                 Respectfully submitted:
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